
By the Court.
— There must be a subsisting action, actually depending in a court for the trial of small causes, before it can be referred; an agreement out of court, to submit a matter in dispute, to referees, and also to make such submission a rule of court, cannot afterwards be made a rule *97of a justice’s court, and enforced therein by attachment. Parties desirous of submitting their controversies to referees, may, however, go before a justice and instituté a suit by consent; when they have done this, the cause then being depending, may be referred to referees, and proceeded in as in other eases of causes referred by a rule of this or any other court of law in this State.
Judgment reversed.1
Cited in Prosser v. Richards, 1 Penn, 377.

 Tha 1st and 2d and 6th. sections of the act entitled, “An act regulating references, and determining controversies by arbitration,” cannot be intended by the legislature, to be carried into operation by a rule of the justice’s court. These sections make a provision for enforcing a compliance with the award of arbitrators or umpires, by courts of record; this must be done by proceeding against the delinquent party for his contempt in disobeying a rule of court; this proceeding hath never been gone into in a justice’s court, nor can it be presumed that the legislature ever intended that it should. The 37th section of the act, constituting courts for the trial of small causes, which authorizes rules of reference, is confined to actions actually subsisting in the court

